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           EXHIBIT W
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                                                                      Mary Anne Zivnuska <mzivnuska@sandergroup.org>



FOIA Appellate Request DODOIG-2024-A-000019 Status
2 messages

FoiaAppeals <FoiaAppeals@dodig.mil>                                                                 Fri, Mar 1, 2024 at 2:07 PM
To: "mzivnuska@sandergroup.org" <mzivnuska@sandergroup.org>


 Ms. Zivnuska,



 We apologize for the delay in processing and responding to your appellate request DODOIG-2024-A-000019. Your
 request is currently undergoing a legal review and we anticipate the Appellate Authority to take action in the near future.
 We have updated the case file and made appropriate notifications of your request for expedited processing and will
 continue to process to provide a response as quickly as possible.



 If you have any questions regarding this matter, please contact the DoD OIG

 FOIA Requester Service Center at 703-604-9775 or via email at

 foiarequests@dodig.mil



 Very respectfully,

 FOIA Requester Service Center

 Office of Inspector General

 Department of Defense



 Phone: 703-604-9775

 Fax: 571-372-7498

 Email: foiarequests@dodig.mil




 From: Mary Anne Zivnuska <mzivnuska@sandergroup.org>
 Sent: Thursday, February 29, 2024 11:06 AM
 To: foiarequests <foiarequests@DODIG.MIL>
 Cc: Robert Sander <rsander@sandergroup.org>; Cecilia Franceski <cfranceski@sandergroup.org>
 Subject: [Non-DoD Source] DODOIG-2024-A-000019, Status / Request to Expedite



 Dear Mr. Dorgan:



 On behalf of Ms. Kristina Glines, The Sander Group submitted an appeal of FOIA Request DODOIG-2024-000019 on
 December 20, 2023, and DODIG acknowledged receipt the same day, assigning number DODOIG-2024-A-000019 to the
 appeal.
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 While we acknowledge DOD IG's processing of these requests under a first-in, first-out policy as set forth in 32 CFR
 286.8, under the Freedom of Information Act a response was due by January 23, 2024. See 5 U.S.C. 552 (a)(6)(A)(ii).
 Can you please let us know when DODIG will respond to DODOIG-2024-A-000019?



 Although the response on the appeal is already untimely, Ms. Glines is quickly approaching a point at which she will
 be denied her due process rights, as the clock began yesterday on a clearance proceeding before DCSA concerning the
 events memorialized in the documents under request in the appeal, and her due process rights would be substantially
 prejudiced without access to the requested information. Please note that we now request expedited consideration of
 this appeal pursuant to 32 CFR 286.8(e)(ii)(A).

 You may reach us by email at rsander@sandergroup.org or mzivnuska@sandergroup.org, or by phone at 703-459-0442.



 Sincerely,

 Mary Anne Zivnuska




 --

 Mary Anne Zivnuska

 The Sander Group, PLLC

 https://www.sandergroup.org/



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Mary Anne Zivnuska <mzivnuska@sandergroup.org>                                                                            Fri, Mar 1, 2024 at 2:22 PM
To: FoiaAppeals <FoiaAppeals@dodig.mil>

 Thank you, I appreciate the update and notifications on our request to expedite. Please let me know if there any more
 developments, or if there is anything more you need from me to facilitate the request.

 V/r,
 Mary Anne
 [Quoted text hidden]
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            EXHIBIT X
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                  LR 5.4(f)




         5.4(f)                             L.R. 5.4(f)
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            EXHIBIT Y
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                              OFFICE OF INSPECTOR GENERAL
                                     DEPARTMENT OF DEFENSE
                                     4800 MARK CENTER DRIVE
                                  ALEXANDRIA, VIRGINIA 22350-1500




                                                                                March 7, 2024
                                                                     Ref: DODOIG-2024-000316

SENT VIA EMAIL TO: rsander@sandergroup.org
Mr. Robert Sander
The Sander Group, PLLC
6618 Saint Marks Court
Alexandria, VA 22306

Dear Mr. Sander:

       This responds to your Freedom of Information Act (FOIA) request, as enclosed. We
received your request on March 1, 2024, and assigned it case number DODOIG-2024-000316.

        For your information, Congress excluded three discrete categories of law enforcement
and national security records from the requirements of the FOIA. See 5 U.S.C. 552(c) (2006 &
Supp. IV 2010). This response is limited to those records that are subject to the requirements of
the FOIA. This is a standard notification given to all our requesters and should not be taken as
an indication that excluded records do, or do not, exist.

        Please be advised that any documents that may be responsive to your request are
compiled for a law enforcement inquiry and release, at this time, could reasonably be expected to
interfere with the inquiry. As such, 5 U.S.C. § 552 exemption (b)(7)(A) of the FOIA provides
for withholding records or information compiled under these circumstances, as law enforcement
inquiries are not limited to criminal actions but include civil actions and regulatory proceedings
as well. For this reason, we cannot release any responsive documents at this time. Once the
inquiry is complete however, exemption (b)(7)(A) may no longer apply, and you may re-submit
your request. Please note that, even after the inquiry is completed, responsive records may still
be exempt from disclosure based on one or more FOIA exemptions.

       If you consider this an adverse determination, you may submit an appeal. Your appeal, if
any, must be postmarked within 90 days of the date of this letter, clearly identify the
determination that you would like to appeal, and reference to the FOIA case number above.
Send your appeal via mail to the Department of Defense, Office of Inspector General, ATTN:
FOIA Appellate Authority, Suite 10B24, 4800 Mark Center Drive, Alexandria, VA 22350-1500,
via email to foiaappeals@dodig.mil, or via facsimile to 571-372-7498. However, please note
that FOIA appeals can only examine adverse determinations concerning the FOIA process. For
more information on appellate matters and administrative appeal procedures, please refer to 32
C.F.R. Sec. 286.9(e) and 286.11(a).

        You may contact our FOIA Public Liaison at FOIAPublicLiaison@dodig.mil, or by
calling 703-604-9785, for any further assistance with your request. Additionally, you may
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                                                                               March 7, 2024
                                                                    Ref: DODOIG-2024-000316

contact the Office of Government Information Services (OGIS) at the National Archives and
Records Administration to inquire about the FOIA mediation services they offer. The contact
information for OGIS is as follows: Office of Government Information Services, National
Archives and Records Administration, 8601 Adelphi Road-OGIS, College Park, MD 20740-
6001, email at ogis@nara.gov; telephone at 202-741-5770; toll free at 1-877-684-6448; or
facsimile at 202-741-5769. However, OGIS does not have the authority to mediate requests
made under the Privacy Act of 1974 (request to access one’s own records).

       If you have any questions regarding this matter, please contact our office at 703-604-
9775 or via email at foiarequests@dodig.mil.

                                             Sincerely,



                                             Searle Slutzkin
                                             Division Chief
                                              FOIA, Privacy and Civil Liberties Office

Enclosure(s):
As stated




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                                         March 7, 2024


Department of Defense, Office of Inspector General
ATTN: FOIA Appellate Authority
Suite 10B24, 4800 Mark Center Drive
Alexandria, VA 22350-1500
(Via email only to foiaappeals@dodig.mil)


Re: Appeal of FOIA Denial DODOIG-2024-000316
Dear FOIA Appellate Authority,
        On behalf of Kristina Glines, and via official form in response to a Statement of Reasons
received by the Defense Counterintelligence and Security Agency, The Sander Group, PLLC
(“The Sander Group”) sent The Department of Defense Office of Inspector General (“DODIG”)
a Freedom of Information Act (“FOIA”) Request on March 1, 2024. This FOIA Request was
received the same day, and DODIG assigned it case number DODOIG-2024-000316. (Attached
as Exhibit 1). On March 7, 2024, FOIA, Privacy and Civil Liberties Office Division Chief
Searle Sluzkin sent a form letter denying this FOIA Request (Attached as Exhibit 2). In their
FOIA Request Denial and Response, the DODIG failed to even conduct a records search or
review of the records under the unfounded assumption that the records sought might be excluded
from the FOIA under 5 U.S.C. § 552(c). This denial is surprising, given the DODIG’s obligation
under the FOIA to make records available unless certain criteria are met, see 5 U.S.C. § 552.
Based on the DODIG’s Response, it appears as though the DODIG did not even attempt to
determine whether such criteria applied to the individual documents requested, as apparently, no
search for materials, much less a review of such records, was even conducted.

        On March 7, 2024, DODIG sent a standard notification, which is nearly identical to a
response that DCIS sent in response to a separate FOIA Ms. Glines submitted in November
2023. The instant FOIA response advises that the responsive documents may have been
compiled for a law enforcement inquiry. Because DODIG did not even attempt to search for
materials or conduct a review of any such records, the DODIG failed to uncover in their own
systems that the inquiry closed in October, 2022.

       DODIG claims that this letter is not a determination that the records are indeed exempt
from FOIA under those sections, but advises that we can treat the letter as a negative
determination—hence, the “final response” name given to its email response. Importantly,

6618 Saint Marks Court; Alexandria, VA 22306; (703) 459-0442; www.sandergroup.org
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DODIG did not advise that it was performing any search whatsoever, and there is no assertion
that they even conducted a records search or review. Additionally, the FOIA Office’s Response
gives the negative implication that it does not intend to even begin its perfunctory obligations
under the FOIA absent an appeal. This stance demonstrates a legal interpretation that reads
DODIG’s FOIA obligations out of the statute and improperly shifts the burden to requestors to
justify the request before DODIG undertakes its own statutory obligations. We are thus
compelled to use the FOIA appeal process not to make an appeal of a reasoned determination,
but rather, to convince DODIG to take a first look at the materials.

        Please consider this letter our appeal of the DODIG’s refusal to search for the requested
materials and review the documents. Neither 5 U.S.C. §552(b)(7)(A) nor the “rarely applicable”
exclusion for “exceptional circumstances” 5 U.S.C. §552(c) (see Shapiro v. United States DOJ,
153 F. Supp 3d 253, 271 (D.D.C. 2016)) apply to exclude the search or production of records
sought.

        This non-response is even more egregious considering the submission of the standard
Request for Records form provided by DCSA, which notes that the documents are required to
“respond to a Statement of Reasons (SOR) issued by the Defense Counterintelligence and
Security Agency Consolidated Adjudication Services.” Ms. Glines is quickly approaching a
point at which she will be denied her due process rights in a clearance proceeding before DCSA
concerning the events memorialized in the documents under request in the appeal. Please note
that we now request expedited consideration of this appeal pursuant to 32 CFR
286.8(e)(ii)(A).


I.     The Requested Records.

        Exhibit 1, FOIA request DODOIG-2024-000316, articulates which records The Sander
Group requested. Ms. Glines has an interest in all of the requested records, of most interest are
the records requested as follows:

       (a) Defense Information System for Security, Incident Report, December 7, 2022

       (b) Department of Defense Inspector General, Defense Criminal Investigative
           Service, Report of Investigation, #2019002173-80SI-B0/F, October 26, 2022

       (c) Video Recording of DCIS interview, October 12, 2022

       (d) All materials relating to the DOD IG and DCIS investigation of Blue Sky
           Innovators, Inc., also known as “BSI.” These documents would likely be
           dated in the range of 4/1/2019 to 1/1/2023.

       (e) All documents, notes, records, video and/or audio recordings, interviews,
           emails, text messages, and conclusions relating to the DOD IG, DCIS, and
           Navy investigation of Ms. Glines, whether they be generated by DOD,
           DCSA, DCIS, or by the Navy. These documents are expected to range from
           May 2019 through January 2023.




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        We have reason to believe that the investigation into BSI (see Exh.1, request (d)) is also
complete. The final response to the FOIA request suggests that if investigation is not completed,
we can re-submit the request once completed. DODIG should have at a minimum done its due
diligence and determined this status before denying the request. We also understand that Agent
Rozman, who retired almost a year ago, told the Navy that DCIS “would not be bringing
criminal charges.”

II.    5 U.S.C. § 552(b)(7)(A) Does Not Apply to the Requested Records.

       Exhibit 2, DODIG’s denial of the FOIA request, claims that records which:

       may be responsive to your request are compiled for a law enforcement inquiry
       and release, at this time, could reasonably be expected to interfere with the
       inquiry. As such, 5 U.S.C. § 552 exemption (b)(7)(A) of the FOIA provides for
       withholding records or information compiled under these circumstances, as law
       enforcement inquiries are not limited to criminal actions but include civil actions
       and regulatory proceedings as well. For this reason, we cannot release any
       responsive documents at this time. Once the inquiry is complete however,
       exemption (b)(7)(A) may no longer apply, and you may re-submit your request.
       Please note that, even after the inquiry is completed, responsive records may still
       be exempt from disclosure based on one or more FOIA exemptions.

Exemption (b)(7)(A) includes:

       [r]ecords or information compiled for law enforcement purposes, but only to the
       extent that the production of such law enforcement records or information (A)
       could reasonably be expected to interfere with enforcement proceedings.
       (emphasis added).

        DCIS investigated a question of whether Ms. Glines used her public position for private
gain. The DCSA SOR references a completed report dated October 26, 2022. Enforcement
proceedings on the matter, if any, were completed over a year ago. In the same time frame,
DCIS reported to Navy that it “would not be bringing criminal charges.” Although (b)(7)(A)
need not only apply to criminal enforcement proceedings, DCIS does not handle non-criminal
matters; the implication in this statement is that there will be no enforcement proceedings arising
out of the subject investigation. Both sources suggest that any enforcement proceedings
potentially affected by the report requested in request (b) are not an issue, and as such, the report
should be released. Further, the documents in requests (c) and (e) arise out of that investigation
and should also be released.

        Based upon the Government’s own records and despite all reasonable conclusions in the
Government’s favor, this material should not be withheld under exemption (b)(7)(A), and the
exemption should certainly not be read to nullify the entirety of the request. It is undisputed that
FOIA’s ‘“limited exemptions do not obscure the basic policy that disclosure, not secrecy, is the
dominant objective of the Act.’ Accordingly, these exemptions ‘must be narrowly construed.’”
John Doe Agency v. John Doe Corp., 493 US 146, 152 (1989), citing Dept. of Air Force v.
Rose, 425 U.S. 352, 361 (1976). There is no reasonable way that exemption b(7)(A) can be seen
to control the request such as to foreclose disclosure, much less the full disclosure claimed in the
FOIA Request Denial.

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III.   5 U.S.C. § 552(c) Does Not Apply to the Requested Records.

        The FOIA Request Denial does not comply with the FOIA by declining to search for
records based on the possibility that the records might be excluded from the FOIA under 5
U.S.C. § 552(c). This provision allows agencies, “under unusual circumstances,” to treat
responsive materials as if they were exempt from FOIA’s application. Shapiro, 153 F. Supp. 3d
at 256 (D. D.C. 2016). “The Section 552(c) exclusions are rarely applicable in principle and are
even more rarely applied in practice. In the words of the Justice Department's own guide to
FOIA, the exclusions are ‘a novel mechanism for protecting certain especially sensitive law
enforcement matters,’ and are employed only in ‘exceptional circumstances.’” Id. at 271-272,
citing U.S. Dep't of Justice, Guide to the Freedom of Information Act: Exclusions 1 (last updated
Mar. 5, 2014). There are three subsections to 5 U.S.C. § 552(c), which we address in succession.
A cursory review of the materials would have demonstrated that 5 U.S.C. § 552(c) does not
apply to the requested records.

a.      5 U.S.C. § 552(c)(1) depends on successful application of criteria which do not apply
to these records.

5 U.S.C. § 552(c)(1) reads as follows:
       (1) Whenever a request is made which involves access to records described in
       subsection (b)(7)(A) and—
               (A) the investigation or proceeding involves a possible violation of
               criminal law; and
               (B) there is reason to believe that (i) the subject of the investigation or
               proceeding is not aware of its pendency, and (ii) disclosure of the
               existence of the records could reasonably be expected to interfere with
               enforcement proceedings,
       the agency may, during only such time as that circumstance continues, treat the
       records as not subject to the requirements of this section.
       5 U.S.C. § 552(c)(1) (emphasis added.)

        Section 552(c)(1) requires that the investigation involve a possible violation of criminal
law. We have documents showing that DCIS Agent Rozman informed the Navy in October 2022
that DCIS determined there is no violation of criminal law. Further, in order to apply the
exemption, the subject of the investigation must not be aware of its pendency. Ms. Glines, the
subject of the investigation, is not only aware of its pendency, DCSA has told her that the
investigation is complete. Further, because there was no criminal conduct identified by DCIS,
there will be no enforcement proceedings. 5 U.S.C. § 552(c)(1) cannot be a reason to deny the
applicability of the FOIA to the records Ms. Glines requests.

b.     5 U.S.C. § 552(c)(2) and (3) are not at issue for the requested records.

       5 U.S.C. § 552(c)(2) depends on specific conditions concerning the request:

       Whenever informant records maintained by a criminal law enforcement agency
       under an informant’s name or personal identifier are requested by a third party
       according to the informant’s name or personal identifier, the agency may treat the


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       records as not subject to the requirements of this section unless the informant’s
       status as an informant has been officially confirmed.
5 U.S.C. § 552(c)(2).

       Ms. Glines did not ask for informant records, nor did she ask for records under an
informant’s name. No names were referenced in her FOIA request other than her own name.
See Exh. 1. 5 U.S.C. §552(c)(2) does not apply to exclude Ms. Glines’ request from the FOIA.

        5 U.S.C. §522(c)(3) applies to records maintained by the Federal Bureau of Investigation
pertaining to foreign intelligence or counterintelligence, or international terrorism, but only
where the existence of those records is classified in the interests of national defense or foreign
policy. Given Ms. Glines’ interview by the DCIS, and what we know, the records requested
concerning both Ms. Glines and/or BSI do not meet this standard. There is no likelihood that
that any foreign intelligence or counterintelligence issues are addressed in the requested records.
Further, the request is made to DODIG for records generated by DCIS, and there is no
reasonable expectation that the FBI is a custodian for these materials. None of the criteria under
5 U.S.C. §552(c) apply to exclude the records Ms. Glines has requested from the FOIA.

IV.     DODIG improperly shifted its agency burden and failed to conduct an adequate
search.

        DODIG, not Ms. Glines, bears the burden of demonstrating that it has complied with its
obligations under FOIA. 5 U.S.C. § 552(a)(4)(B). Specifically, it bears the burden of
demonstrating that it conducted an adequate search and properly withheld documents under one
of the recognized exemptions. Id.; U.S. Dep't of State v. Ray, 502 U.S. 164, 173 (1991). That
burden was not met here because DODIG proactively denied the request without even searching
for the records to verify whether or not the rarely applicable provisions of 552(c) applied.

       5 U.S.C. §552(a)(6)(A) sets forth the process for Agencies to respond to a FOIA request,
and the requestor’s appeal rights:

       Each agency, upon any request for records made under paragraph (1), (2), or (3)
       of this subsection, shall—
       (i) determine […] whether to comply with such request and shall immediately
       notify the person making such request of—
                (I) such determination and the reasons therefor;
                (II) the right of such person to seek assistance from the FOIA Public
                Liaison of the agency; and
                (III) in the case of an adverse determination—
                         (aa) the right of such person to appeal to the head of the agency,
                         within a period determined by the head of the agency that is not
                         less than 90 days after the date of such adverse determination[.]
       […]
       (ii) make a determination with respect to any appeal […]. If on appeal the denial
       of the request for records is in whole or in part upheld, the agency shall notify the
       person making such request of the provisions for judicial review of that
       determination under paragraph (4) of this subsection. 5 U.S.C. § 552(a)(6)(a).




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         Reasons for denial to release particular pieces of information are often listed in what is
known as a Vaughn Index. It appears that DODIG’s FOIA stance—in which it denies via form
letter the requirement to search for records that might potentially be covered by 552(c)—
systematically deprives the requestor of a functional appeal under 552(a)(6)(A)(i)(III). At this
time, there is no determination on the documents at issue, or reason given as required by
552(a)(6)(A)(i)(I). The only apparent recourse would launch the requestor into a costly court
battle over an improper first-time denial, without the benefit of seeking an administrative appeal
for disagreements over the Agency’s true first look. Ms. Glines hopes that the Government will
see its errors and amicably and properly comply with this FOIA Request in accordance with the
law.

V.     Anticipatory arguments to possible DODIG responses.

        To preserve time and resources, we here respond to denials or redactions we might
anticipate receiving based on FOIA exemption (b)(7), without any information on the particular
denials or redactions DODIG seeks to make.

       Noting FOIA exemptions, narrow construction, exemption (b)(7) includes:

       [r]ecords or information compiled for law enforcement purposes, but only to the
       extent that the production of such law enforcement records or information (A)
       could reasonably be expected to interfere with enforcement proceedings, (B)
       would deprive a person of a right to a fair trial or an impartial adjudication, (C)
       could reasonably be expected to constitute an unwarranted invasion of personal
       privacy, (D) could reasonably be expected to disclose the identity of a confidential
       source, including a State, local, or foreign agency or authority or any private
       institution which furnished information on a confidential basis, and, in the case of
       a record or information compiled by criminal law enforcement authority in the
       course of a criminal investigation or by an agency conducting a lawful national
       security intelligence investigation, information furnished by a confidential source,
       (E) would disclose techniques and procedures for law enforcement investigations
       or prosecutions, or would disclose guidelines for law enforcement investigations
       or prosecutions if such disclosure could reasonably be expected to risk
       circumvention of the law, or (F) could reasonably be expected to endanger the life
       or physical safety of any individual[.]
5 U.S.C. 552(b)(7), (emphasis added.)

       The DOJ FOIA guide makes abundantly clear that Agencies seeking to withhold
information under exemption (7) must demonstrate for each subpart that the information
requested “could reasonably be expected” to cause the harm that the subsection seeks to prevent-
- except for subparts (B) and (E), which requires that the Agency demonstrate that the disclosure
would indeed cause the harm the subpart seeks to prevent. Id.

        While these records may have originally been compiled for a law enforcement purpose,
the other requirements of exemption (b)(7) are not met. As discussed above, over a year ago
DCIS determined that there was no criminal wrongdoing, and as such there are no enforcement
proceedings to implicate (b)(7)(A), and no trial with which to interfere under (b)(7)(B). Ms.
Glines is requesting information about herself, so there is no reasonable expectation that granting
her information about an investigation into her own conduct could be deemed an invasion into

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her privacy, and no one else’s privacy is implicated by the investigation into her conduct under
(b)(7)(C). There is no reasonable expectation of confidential sources under (b)(7)(D). To the
extent that there may be some unexpected confidential source referenced in the investigation,
that information may be redacted to satisfy the requirement that information withheld under
exemption (b)(7) may be withheld “only to the extent that” its production could be expected to
disclose that source.

        To the extent that the requested information reveals any techniques, procedures, or
guidelines for law enforcement investigations, we expect that this would be a very limited
portion of the documents requested. Further, exemption (7)(E) is one of the subparts requiring a
more stringent standard of proof of harm—that is “would disclose” material otherwise exempted
under (7)(E), and even then, that information could be redacted. Given that the investigation
concerned allegations that Ms. Glines used her public position for private gain, there is no
reasonable possibility that this report would endanger the life or physical security of any
individual, and as such, there is no reasonable expectation that exemption (7)(F) would be a
factor in any withholding of the report.

VI.    Conclusion.

        For the above reasons, we believe that DODIG should release the requested records and
process this appeal on an expedited basis to avoid a deprivation of Ms. Glines’ due process
rights. To the extent that DODIG decides to deny any portion of the request, we request a
Vaughn Index such that we may expedite court consideration of this matter.


                                             Sincerely,




                                             Robert J. Sander
                                             6618 Saint Mark Court
                                             Alexandria, VA 22306
                                             (703) 459-0442
                                             rsander@sandergroup.org


cc: Ms. Kristina Glines
Enclosures:
Exhibit 1, FOIA request DODOIG-2024-000316, March 1, 2024
Exhibit 2, FOIA Request Denial and Response, March 7, 2024




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                          OFFICE OF INSPECTOR GENERAL
                                  DEPARTMENT OF DEFENSE
                                  4800 MARK CENTER DRIVE
                               ALEXANDRIA, VIRGINIA 22350-1500




                                                                           March 15, 2024

                                              Ref: Decision on DODOIG-2024-A-000019
                                                               DODOIG-2024-A-000026

Mr. Robert J. Sander
The Sander Group, PLLC
6618 Saint Mark Court
Alexandria, VA 22306

Dear Mr. Sander:

       You filed Freedom of Information Act (FOIA) requests on behalf of your client,
Ms. Kristian Glines, on November 20, 2023, and March 1, 2024, with the Department of
Defense Office of Inspector General (DoD OIG) FOIA Office. The FOIA Office
assigned these requests case numbers DODOIG-2024-000019 and DODOIG-2024-
000316 respectively. In general, your FOIA requests sought various records relating to
the DoD OIG and Defense Criminal Investigative Service (DCIS) investigations of Blue
Sky Innovators, Inc., and your client.

         On November 30, 2023, the FOIA Office responded to request DODOIG-2024-
00019, and on March 7, 2024, responded to request DODOG-2024-000316, in both
instances by withholding responsive records in full pursuant to the FOIA, specifically
title 5, United States Code, section 552(b)(7)(A)). The FOIA Office explained that any
responsive records were compiled for law enforcement purposes and release could
reasonably be expected to interfere with law enforcement proceedings.

        We received your appeal of these decisions on December 20, 2023, and March 8,
2024, and assigned them appellate case numbers DODOIG-2024-A-000019 and
DODOIG-2024-A-000026. In your appeals, you asserted that the DoD OIG failed to
conduct a records search or review for the requested records based on the unfounded
assumption that they might be excluded from release by section 552(c) of the FOIA. You
also asserted that FOIA exemption (b)(7)(A) does not apply to the requested records.
Furthermore, you requested a “Vaughn Index” to the extent the DoD OIG decided to
deny any portion of the request, and you expressed the view that fees for processing your
client’s FOIA requests had been waived.

         After considering the merits of your appeals, I have decided to provide a
consolidated response. After reviewing the information supporting the FOIA Office’s
initial responses, I have determined first, the FOIA Office did not invoke 5 U.S.C.
§552(c) as a basis for excluding any records. While the FOIA Office’s responses refer to
section 552(c), they do so as a standard notification included in all its FOIA responses to
inform a requester that Congress has excluded three categories of law enforcement and
national security records from the requirements of the FOIA. This notification is made
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because the DoD OIG, as a general matter, properly maintains records covered by section
552(c). Including this notice simply informs all requestors that the scope of records
responsive to a FOIA request processed by the DoD OIG would not include records
falling within the exclusion granted by section 552(c).

        Secondly, I determined that the FOIA Office, in coordination with DCIS, did
conduct a search for responsive records. However, a proper review and analysis of the
records required by exemption (b)(7)(A) was not conducted. More specifically, proper
consideration of this FOIA exemption requires a document-by-document review in order
to determine that records, or a category of records, if released would interfere with
enforcement proceedings, as well as whether there are any reasonably segregable non-
exempt portions. This review process was not adequately performed. As a result, and
pursuant to title 32, Code of Federal Regulations, section 286.11(c), I am granting your
appeal and remanding the requests to the FOIA Office for further review and processing,
in coordination with DCIS, consistent with my determination. You will receive a
subsequent response from the FOIA Office to your requests.

        After further consideration, I am denying your appeal with regard to your request
for a Vaughn Index. The practice of preparing a Vaughn Index is confined to litigation
proceedings and not the administrative processing of a FOIA request by an agency.
Additionally, until further review of responsive records is conducted by the FOIA Office,
there are insufficient factual and legal bases upon which to comment on any records that
might be withheld. Finally, your client will not be assessed fees for the FOIA requests.

        This action closes your appeal. You have the right to judicial review of this
decision in a United States District Court, in accordance with 5 U.S.C. § 552(a)(4)(B).
Further, the Office of Government Information Services (OGIS), offers services to help
resolve disputes between FOIA requesters and Federal agencies as a non-exclusive
alternative to litigation. However, OGIS does not have the authority to mediate requests
made under the Privacy Act of 1974 (request to access one’s own records). You may
contact OGIS at 877-684-6448, ogis@nara.gov, https://ogis.archives.gov/, or via regular
mail at National Archives and Records Administration Office of Government Information
Services, 8601 Adelphi Road – OGIS, College Park, MD 20740-6001.

                                            Sincerely,
                                                                   Digitally signed by
                                            HADJIYANE.PA HADJIYANE.PAUL.101622192
                                                          5
                                            UL.1016221925 Date: 2024.03.15 11:11:30
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                                            Paul Hadjiyane
                                            General Counsel
                                            Appellate Authority
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          EXHIBIT BB
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                                 OFFICE OF INSPECTOR GENERAL
                                         DEPARTMENT OF DEFENSE
                                         4800 MARK CENTER DRIVE
                                      ALEXANDRIA, VIRGINIA 22350-1500


                                                                                       March 19, 2024
                                                                  Ref: DODOIG-2024-000119 (Remanded)
                                                                       DODOIG-2024-000316 (Remanded)

SENT VIA EMAIL TO: rsander@sandergroup.org
Mr. Robert Sander
The Sander Group, PLLC
6618 Saint Marks Court
Alexandria, VA 22306

Dear Mr. Sander:

        This acknowledges receipt of the appellate review of your Freedom of Information Act (FOIA)
requests on behalf of your client, Ms. Kristian Glines, for various records relating to the DoD OIG and
Defense Criminal Investigative Service (DCIS) investigations of Blue Sky Innovators, Inc. The appellate
authority remanded your requests DODOIG-2024-000119 and DODOIG-2024-000316, to the FOIA
Office for additional processing on March 15, 2024.

         Your request for expedited processing is granted. Your requests have been assigned to the
expedited processing queue and have been placed in chronological order based on the date of receipt and
will be handled as quickly as possible. The FOIA provides that agencies may extend time limits when
“unusual circumstances” are met during the processing of a request. See 5 U.S.C. 552 § (a)(6)(B)(i)-(iii).
Due to the need for a search in an external office, this office will not be able to meet the 20-business day
response time. If you would like to narrow the scope of your request for records in order to achieve a
timelier response, please contact our office at 703-604-9775 or by email at foiarequests@dodig.mil. You
may also contact our FOIA Public Liaison at 703-604-9785 for further assistance.

         Lastly, you may seek dispute resolution services and assistance with your request from the Office
of Government Information Services (OGIS) at 877-684-6448, ogis@nara.gov, or
https://ogis.archives.gov/. You can also contact OGIS via regular mail at National Archives and Records
Administration, Office of Government Information Services, 8601 Adelphi Road–OGIS, College Park,
MD 20740-6001. Please note that OGIS mediates disputes between FOIA requesters and Federal
agencies as a non-exclusive alternative to litigation. However, OGIS does not have the authority to
mediate requests made under the Privacy Act of 1974 (request to access one’s own records).

                                                  Sincerely,




                                                  Eric R. Powers
                                                  Government Information Specialist
                                                   FOIA, Privacy and Civil Liberties Office
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        EXHIBIT CC
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                                                   INSPECTOR GENERAL
                                                   DEPARTMENT OF DEFENSE
                                             DEFENSE CRIMINAL INVESTIGATIVE SERVICE


              2019002173-80SI-B0/F                                                           October 26, 2022

               BLUE SKY INNOVATORS, INCORPORATED, Fairfax, VA
              (b)(7)(A), (b)(6), (b)(7)(C)


              GLINES, KRISTINA ARLENE
              (b)(7)(A), (b)(6), (b)(7)(C)
              TKACZ, TIMOTHY JAMES




              DISTRIBUTION:
              (b)(7)(A)




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               Synopsis:
               From at least 2015 to present, Kristina A. Glines, GS-15, Director of Security, Department of the
               Navy Special Programs Office/Department of the Navy Special Access Program Central Office,
               Pentagon, Washington, D.C., knowingly and willfully, violated her basic obligation of public
               service, which holds that public service is a public trust. Glines placed private gain ahead of her
               loyalty to the Constitution, ethics laws, and ethical principles. Glines held financial interests that
               conflicted with the conscientious performance of her duties, used nonpublic Government
               information to further a private interest, used public office for private gain, failed to act
               impartially, and gave preferential treatment to a private entity. These improprieties pertain to
               Glines imputed interest in Blue Sky Innovators, Incorporated, a company her husband owns and
               operates.

               Statutes:
               The following violations of the United States Code (U.S.C.) and Code of Federal Regulations
               (C.F.R.) apply to this investigation:

                  18 U.S.C. § 208 - Acts Affecting a Personal Financial Interest;
                  5 C.F.R. § 2635.402 - Disqualifying Financial Interest;
                  5 C.F.R. § 2635.501 - Impartiality in Performing Official Duties;
                  5 C.F.R. § 2635.502 - Personal and Business Relationships;
                  5 C.F.R. § 2635.701 - Misuse of Position;
                  5 C.F.R. § 2635.702 - Use of Public Office for Private Gain;
                  5 C.F.R, § 2635.703 - Use of Nonpublic Information.

               Background:
               This investigation was opened on May 30, 2019, via a referral from (b)(7)(A), (b)(6), (7)(C)
               (b)(7)(A), (b)(6), (7)(C) Department of Defense (DoD) Special Access Program Central Office
               (SAPCO), Pentagon, Washington, D.C., regarding questionable Special Access Program (SAP)
               accesses for Blue Sky Innovators, Incorporated. ( Blue Sky Innovators) employees and
                                                   (b)(7)(A), (b)(6),
               questionable business practices.           questioned the high number of SAP accesses being
                                                                                                       (b)(7)(A),
                processed, with hundreds of programs each being nominated.         also took umbrage with the
               spouse of Blue Sky Innovators’ President and Chief Executive Officer, who used her official
               U.S. Government position to benefit her and her husband’s financial position, potentially
                                                                                  (b)(7)(A), (b)(6),
               amounting to an organizational conflicts of interest.          expressed concern with the
               following personnel:

                  Timothy Tkacz, President and Chief Executive Officer, Blue Sky Innovators;
                                                                                                                    (b)(7)(A), (b)(6),
                  (b)(7)(A), (b)(6), (b)(7)(C) (b)(7)(A), (b)(6), (b)(7)(C)                   Blue Sky Innovators                        ,
                                                                                             &
                  (b)(7)(A), (b)(6), (b)(7)(C) , Assistant Secretary of the Air Force for Acquisitions, Special
                  Programs (SAF/AQL),(b)(7)(A), (b)(6), (7)(C)
                  (b)(7)(A), (b)(6), (b)(7)(C)
                                                 , (b)(7)(A), (b)(6), (b)(7)(C)                Blue Sky Innovators;
                  (b)(7)(A), (b)(6), (b)(7)(C)
                                               , Employee, Blue Sky Innovators (b)(7)(A), (b)(6), (b)(7)(C)

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                  Kristina Glines, Directory of Security, Department of the Navy Special Programs
                  Office/Department of the Navy SAPCO (N9SP).

               A SAP is a program activity that imposes additional controls governing access to classified
               information involved with such programs beyond those required by normal management and
               safeguarding practices. These additional controls may include, but are not limited to, access
               approval, adjudication or investigative requirements, special designation of officials authorized
               to determine a need-to-know, or special lists of persons determined to have a need-to-know.

               Based on the DoD SAPCO referral, the Defense Criminal Investigative Service (DCIS),
               Sensitive Investigations Unit, Alexandria, Virginia, opened a criminal investigation to determine
               the veracity of the allegations. (b)(7)(A)




               Narrative:

               BLUE SKY INNOVATORS, INCORPORATED BACKGROUND
               1. Blue Sky Innovators is a small business specializing in professional services supporting U.S.
               Government customers within the DoD and the Intelligence Community (IC). Blue Sky
               Innovators specializes in the following professional services:

                  (b)(7)(A)




               2. Tkacz started Blue Sky Innovators in 2013 as an individually owned limited liability company
               supporting DoD customers. In 2016, Tkacz converted his company into a subchapter S-
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               Corporation and added three new partners. The following three corporate officers joined Blue
               Sky Innovators:
                   (b)(7)(A), (b)(6), (7)(C)




               3. Blue Sky Innovators divided ownership amongst the four owners, with the majority ownership
               held by Tkacz. Blue Sky Innovators ownership percentages are:

                   Timothy Tkacz, President and Chief Executive Officer, 28.75% ownership;
                  (b)(7)(A), (b)(6), (7)(C)




               4. Blue Sky Innovators is a registered corporation in the Commonwealth of Virginia. Blue Sky
               Innovators is a corporate entity (Not Tax Exempt), business, subchapter S-Corporation, and for-
               profit organization. Tkacz, (b)(7)(A), (b)(6), (7)(C)
           (b)(7)(A), (b)(6), (7)(C)



               5. Blue Sky Innovators’ registered business address was (b)(7)(A), (b)(6), (7)(C)
               (b)(7)(A), (b)(6), (7)(C)                             (Attachment 1). On March 26, 2022,
               Blue Sky Innovators changed their corporate address from (b)(7)(A), (b)(6), (7)(C)
               (b)(7)(A), (b)(6), (7)(C)                             (Attachment 2). LiquidSpace owns and
               operates this new business address. LiquidSpace leases workspace, offices, conference rooms,
               etc., for use by companies such as Blue Sky Innovators.

               6. Blue Sky Innovators is registered in the General Services Administration (GSA) Systems for
               Award Management (SAM) database. Blue Sky Innovators has been registered in GSA SAM
               since July 9, 2013. Blue Sky Innovators is an active U.S. Government contractor eligible for all
               Federal agency contract awards, is in good standing, and without any exclusions – e.g. debarred,
               suspended, proposed for debarment, or declared ineligible for the award of contracts by any
               Federal agency. Blue Sky Innovators operates via Commercial and Government Entity
               (CAGE) code 6XNZ7 (Attachment 3).

               7. Blue Sky Innovators is a cleared DoD contractor. In 2016, the Defense Counterintelligence
               & Security Agency (DCSA) issued Blue Sky Innovators a TOP SECRET Facility Clearance
               (FCL) (Attachment 4). Blue Sky Innovators maintains a valid FCL, which allows them to
               access, possess, and work with classified information up to and including TOP SECRET. Blue
               Sky Innovators is an access elsewhere facility with no safeguarding or automated information
               systems at the FCL’s registered address, (b)(7)(A), (b)(6), (7)(C)



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               8. All corporate officers maintain TOP SECRET personnel security clearances with sensitive
               compartment information and SAP eligibility. Blue Sky Innovators has had several Facility
               Security Officers (FSO) throughout their existence. (b)(7)(A), (b)(6), (7)(C)
           (b)(7)(A), (b)(6), (7)(C)



               9. DCSA confirmed Blue Sky Innovators performed classified work on DoD classified contracts
               requiring access to classified material, to include SAP access (Attachments 5, 6, and 7). (b)(7)(A)
           (b) (7)(A)




                BLUE SKY INNOVATORS, INCORPORATED FEDERAL AGENCY CONTRACTS
               10. According to publicly available information, Blue Sky Innovators has a limited Federal
               agency contractor presence and a complete absence of contracts with the DoD. Dunn &
               Bradstreet Federal Information reports indicated a complete absence of federal agency contracts
               (Attachment 8). The Federal Procurement Data System (FPDS) reported Blue Sky Innovators
               had only one federal agency contract award (Attachment 9). This federal agency contract is the
               General Services Administration (GSA) Professional Services Schedule (PSS) Contract #:
               47QRAA20D001N. The PSS is a GSA Indefinite Delivery Indefinite Quantity, Multiple Award
               Schedule, Firm Fixed Price contract wherein Blue Sky Innovators is a contract holder
               (Attachment 10).

               11. The DoD Office of General Counsel, Standards of Conduct Office (SOCO), prepares and
               releases an annual report entitled, “DoD Vendors with Awards of $25,000.00 and over FPDS
               Data” identifying prime contractors who have received DoD contracts awards greater than
               $25,000. Blue Sky Innovators was not listed in the FY2016, FY2017, FY2018, FY2019,
               FY2020, and FY2021 annual “DoD Vendors with Contracts of $25,000.00 and over” reports
               (Attachment 11).

               12. (b) (7)(A)




                   (b) (7)(A)



                   (b) (7)(A)



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               13. (b)(7)(A)




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               (b)(7)(A)




                                                                                                             e




               14. (b)(7)(A)




               BLUE SKY INNOVATORS SPECIAL ACCESS PROGRAM ACCESSES
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               15. Blue Sky Innovators maintains a significant presence in the DoD SAP community. DoD
               SAPCO, JADE, and Joint Access Database System (JADS) queries confirmed extensive DoD
               SAP read-ins for Blue Sky Innovator corporate officers and employees. Specific SAP details
               such as program name, type, and owner are not reportable in this document. DoD SAPCO
               maintains a full list of Blue Sky Innovators employee SAP accesses.

                BLUE SKY INNOVATORS PERFORMANCE ON U.S. NAVY CONTRACTS
               16. Tkacz leads Blue Sky Innovators performance on U.S. Navy classified contracts. Tkacz, as
               the President and CEO of Blue Sky Innovators, entered into two subcontract agreements with
               ECS Federal, Limited Liability Company (LLC), codifying their contractual relationship. Tkacz
               entered into the following two subcontract agreements with ECS Federal, LLC, on the following
               U.S. Navy contracts:

                   Contract Number: N3237B-13-C-2010
                   Prime Contractor: ECS Federal, LLC
                   Customer: U.S. Navy, Office of Naval Research (PMR-51)
                   Contract Description: CLASSIFIED
                   Subcontract Agreement Execution Date: May 1, 2017 (Attachment 14)

                   Contract Number: N3237B-15-D-6816
                   Prime Contractor: ECS Federal, LLC
                   Customer: U.S. Navy, Office of Naval Research (PMR-51)
                   Contract Description: CLASSIFIED
                   Subcontract Agreement Execution Date: March 16, 2020 (Attachment 15)

               17. These classified contracts have DoN SAP equities that fall under the oversight of Tkacz’s
               spouse – Kristina A. Glines, Director of Security, Department of the Navy Special Programs
               Office/Department of the Navy SAPCO (N9SP), Pentagon, Washington, D.C.

                TIMOTHY TKACZ
               18. Timothy J. Tkacz is the President and CEO of Blue Sky               (b)(7)(A), (b)(6), (7)(C)
                   Innovators.
               (b)(7)(A), (b)(6), (7)(C)



               19. (b)(7)(A), (b)(6), (7)(C)


               20. (b)(7)(A), (b)(6), (7)(C)




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               21. (b)(7)(A), (b)(6), (7)(C)
               (b)(7)(A), (b)(6), (7)(C)



               22. As a small business, Blue Sky Innovators corporate officers perform multiple roles from
               running the company to working directly on a Federal agency contracts. As the President and
               CEO of Blue Sky Innovators, Tkacz leads the company, oversees company operations,
               establishes business strategies, and makes important corporate decisions that impact the
               company’s brand and financial health. Tkacz bills this time, while performing Blue Sky
               Innovators President and CEO duties, as an indirect cost – cost not related to a specific service
               provided directly to a federal agency contract. Tkacz bills his indirect labor as both overhead
               and General and Administrative (G&A) labor. Overhead costs support the efforts of the direct
               labor workforce not performing work on a specific contract. G&A are the residual cost
               necessary to run a business such as labor for strategic planning, business development efforts,
               and to manage and perform administrative functions.

               23. Tkacz also works on Federal agency contracts where he provides professional services, in
               most cases, Systems Engineering and Technical Assistance (SETA) support to various Federal
               agency customers. In this capacity, Tkacz bills his time as direct labor – labor that is provided
               directly to a customer. The cost of direct labor is considered the cost of regular hours, shift
               differentials, and overtime hours worked by an employee.

               24. As a representative example of Tkacz’s direct labor billing on Federal agency contracts,
               Tkacz worked and billed his time at DARPA as a Blue Sky Innovators SETA. Tkacz’s work
               at DARPA is very extensive. While supporting DARPA, Tkacz worked on a multitude of
               programs, to include, but not limited to, Rapid Attack Detection, Isolation and Characterization
               Systems, Cyber Fault-tolerant Attack Recovery, Communications in Contested Environments,
               ADAPTable Sensor System, Integrated Sensor is Structure, Flow based Information Theory
               Tracking, Large Area Coverage Search-Prior, and several classified cyber efforts.

               KRISTINA GLINES
               25. Kristina A. Glines is a Department of the Navy, Executive Branch, civilian federal employee
               of the U.S. Government and his been since she began federal career in February 2005. Glines
               started her federal civil service career with the Department of the Navy, Navy Engineering
               Logistics Office (NELO) as a Security Specialist. From 2005 to present, Glines maintained
               continuous employment with the Department of the Navy as a civilian federal employee.

               26. During her career with the Department of the Navy, Glines worked at various commands, to
               include, but not limited to, NELO, Navy Systems Management Activity, and the Department of
               the Navy Special Programs Office/Department of the Navy SAPCO. Glines held a variety of
               positions to include Security Specialist, Supervisory Security Specialist, Program Security
               Officer, Program Security Manager, and the Director of Security. Glines currently holds the pay
               grade of GS-15.


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               27. According to SECNAV Instruction 5460.4 – Mission, Functions, and Tasks of the
               Department of the Navy Special Access Program Central Office, DoN SAPCO is responsible for
               the execution, management, oversight, administration, security, information systems and
               networks, information assurance, and records management for SAPs under the responsibility of
               the DoN. In her position as the Director of Security at DoN SAPCO, Glines is responsible for
               the protection of DoN SAPs and implementation of enhanced security requirements. Glines
               responsibilities include, but are not limited to, the following:

                  Develop and promulgate policies and procedures for the security of DoN SAPs, to include
                  insider threat policy for DoN SAPs;
                  Exercise Access Approval Authority for all DoN SAPs for which the Secretary of the Navy
                  is responsible and as delegated by agreement with non-DON entities;
                  Maintain a master list of all access authorizations for DoN SAPs and of the individuals
                  granted access;
                  Establish, manage, and execute approval authority for DoN SAP access baselines;
                  Evaluating continued access to DoN SAPs access for personnel who have committed security
                  violations and/or have other derogatory information findings;
                  Ensuring that security standards and policies are maintained and followed.

                TIMOTHY TKACZ & KRISTINA GLINES MARRIAGE & FINANCIAL INTEREST
               28. A review of Glines’ social media posts, National Background Investigation Bureau
               investigative file, and Questionnaire for National Security Positions, revealed Glines and Tkacz
               are married and began living together in 2011.

               29. On August 2, 2013, Glines and Tkacz were legally married in Charlevoix County, Michigan
               wherein they became each other’s spouse. The Charlevoix County Clerk’s office issued a
               marriage certificate codifying their legal marriage. Glines’ new married name was recorded as
               “Kristina Glines Tkacz” (Attachment 16).

               30. Although Glines listed her new name on the marriage certificate as “Kristina Glines Tkacz,”
               she does not use this name during the course of her official Government duties. Glines does not
               use this name on her Government e-mail accounts, on Government documents, Government
               issued identification, nor does she sign official documents using this name. Instead, Glines uses
               her maiden name – “Kristina Glines.” Glines uses her maiden name on the following:

                  DoD Common Access Card;
                  U.S. Government E-mail Signature Block;
                  U.S. Government Passport;
                  Social Security Number;
                  Virginia Driver’s License;
                  Virginia Vehicle Registration;
                  LinkedIn Social Media Platform;
                  E-mail Addresses

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                      o kristina.glines@navy.mil (NIPRNet)
                      o kristina.glines@navy.smil.mil (SIPRNet)
                      o glinesk@nmic.ic.gov (JWICS)

               31. In June 2015, Glines reported on her “Electronic Questionnaire for Investigations
               Processing” form that she married Tkacz on August 2, 2013 and had not legally changed her
               name; however, she “informally” goes by her husband’s last name Kristina Tkacz. During
               Glines’ enhanced subject interview for her security clearance, on January 5, 2016, Glines
               addressed the use of her maiden name vice the use of her married name. Glines reported she
               listed her name as Kristina Tkacz on her marriage certificate and on Facebook; however,
               reported “She does not sign any official documents with the name [Kristina Tkacz] or use it for
               any other reason. When she listed [Kristina Glines Tkacz] on her marriage certificate her
               intention was to switch everything over to that name but found the process to be difficult and
               time consuming and decided to continue using the name Kristina Glines.”

               32. Without personal knowledge that Glines is married to Tkacz, or Glines voluntarily disclosing
               her marriage to Tkacz, a reasonable person would not readily know Glines is married and
               maintains a “covered relationship” to Tkacz. Glines’ use of her maiden name effectively
               obfuscates any perceived or actual personal and/or financial conflicts of interest concerns a
               reasonable person might have regarding Glines, Tkacz, and Blue Sky Innovators.

               33. Glines has a direct and imputed financial interest with her husband and his company, Blue
               Sky Innovators. Glines and Tkacz live together and share a mortgage on their home (Attachment
               17). Glines told DCIS that she shares financial interest with her husband as joint owners and
               signatories on loans, bank products, and investments, to include but not limited to, their home
               mortgage, savings account, checking account, stocks, mutual funds, credit cards, etc. Glines
               reported she and Tkacz file federal and state income tax as married filing jointly.

               34. Glines maintains a “covered relationship” with her husband Tkacz. This “covered
               relationship” exist because they are members of the same household, are legally married, have a
               close personal relationship, and Tkacz serves as an officer of Blue Sky Innovators.

               STANDARDS OF ETHICAL CONDUCT FOR EMPLOYEES OF THE EXECUTIVE
               BRANCH
               35. Glines, as an employee of the executive branch of the U.S. Government, has an obligation to
               abide by 5 C.F.R. § 2635 - Standards of Ethical Conduct for Employees of the Executive Branch.
               The basic obligation of public service is that it is a public trust. Each employee has a
               responsibility to the U.S. Government and its citizens to place loyalty to the Constitution, laws,
               and ethical principles above private gain. To ensure that every citizen can have complete
               confidence in the integrity of the Federal Government each employee shall respect and adhere to
               the principles of ethical conduct. The general principles apply to every employee. These general
               principals include, but are not limited to, the following:

                  Public service is a public trust, requiring employees to place loyalty to the Constitution, the
                  laws, and ethical principles above private gain;
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                  Employees shall not hold financial interests that conflict with the conscientious performance
                  of duty;
                  Employees shall not engage in financial transactions using nonpublic Government
                  information or allow the improper use of such information to further any private interest;
                  Employees shall not use public office for private gain;
                  Employees shall act impartially and not give preferential treatment to any private
                  organization or individual;
                  Employees shall endeavor to avoid any actions creating the appearance that they are violating
                  the law or the ethical standards set forth in this part. Whether particular circumstances create
                  an appearance that the law or these standards have been violated shall be determined from
                  the perspective of a reasonable person with knowledge of the relevant facts.

               36. As a DoD and DoN employee, Glines is subject to additional rules, regulations, and guidance
               regarding ethical conduct. They include the following:

                  5 C.F.R. § 3601 - Supplemental Standards of Ethical Conduct for Employees of the
                  Department of Defense;
                  DoD Directive 5500.07-R - Joint Ethics Regulation;
                  The Department of the Navy Core Values Charter;
                  Navy Code of Ethics.

               37. Additionally, DoD personnel have been reminded about their obligations to perform their
               jobs ethically. The most recent guidance includes the following:

                  On September 18, 2019, the Honorable Mark Esper, Secretary of Defense, issued a
                  memorandum to all DoD personnel entitled “Reaffirming Our Values and Ethical Conduct.”
                  In his message, Esper reiterated that DoD personnel must practice and exercise ethical
                  decision making and it must become a daily task and habit. Esper directed all DoD personnel
                  to complete annual ethics training.

                  On February 5, 2020, Secretary of Defense Esper issued a memorandum to all DoD
                  personnel entitled “Ethical Conduct and Political Activities.” This was follow-on guidance
                  from the September 18, 2019 memorandum wherein he reemphasized ethical conduct,
                  political activities, and reaffirmed annual ethics training requirements.

                  On March 29, 2022, The Honorable Carlos Del Toro, Secretary of the Navy, issued an
                  “Annual Ethics Message” wherein he reminded DoN personnel about the concept of integrity
                  and that it expanded to all employees of the DoN – officers, enlisted, and civilian personnel.

               38. Glines, as an employee of the DoD/DoN, has been exposed to, and consistently reminded of,
               her moral and ethical obligations she must follow as a DoD/DoN senior civilian federal
               employee.


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               ETHICS TRAINING
               39. Glines reported to DCIS she has received ethics training throughout her federal career.
               Electronic training records obtained from the DoN Total Workforce Management Services
               (TWMS) system confirmed Glines took ethics training. Only Glines’ 2019 and 2020 ethics
               training record, could be located (Attachment 18). Glines took the following ethics training
               courses:

                  November 19, 2020 - DON Initial and Annual Ethics Training Course V.3;
                  November 18, 2020 - DON Initial and Annual Ethics Training Course V.3;
                  February 18, 2020 - DON Annual Ethics Training V2;
                  September 16, 2019 - Annual Ethics Training.

               40. A review of the ethics training modules revealed the ethics training addressed a multitude of
               topics and required an end of course examination (Attachment 19). The training included, but
               was not limited, to the following topics:

                  18 U.S.C. § 208 – Acts Affecting a Personal Financial Interest;
                  Principals of Ethical Conduct;
                  Financial Conflicts of Interest;
                  Impartiality;
                  Misuse of Position;
                  Ethics Advice.

               41. The training further instructs the student to consult their ethics counselor to determine
               whether their participation would be considered personal and substantial, whether the particular
               matter would have a direct and predictable effect on their financial interest, and whether they
               may avail themselves on any exemptions - “Seek Early Advice: Consult Your Attorney.”

               42. The training stated as a general rule, “Do not work on matters in which YOU have a financial
               interest. In following this rule, employees should keep in mind that the financial interests of
               others – including a spouse, minor child, and certain entities - are imputed to them.”

               43. Furthermore, the training reiterates financial interest are imputed to the Government
               employee via a spouse, minor child, general partner; and an organization in which the employee
               serves as an officer, director, general partner, or employee.

               44. Remedial steps to resolve conflict of interest are addressed wherein an employee can take
               steps to avoid taking action on a matter in which they have a financial interest. This includes
               divesting themselves of the conflicting financial interest, the employee being granted a waiver,,
               recusal/disqualification, reassignment, and changes of duties.

               45. The training addresses impartiality in conducting official business. Appearance of a loss of
               impartiality directs the employee not to participate in a particular matter involving specific
               parties without written supervisory approval if the matter is likely to affect the financial interest

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               of a member of the employee’s household, and a person with whom the employee has a “covered
               relationship” is involved in the matter. The training defines an employee has a “covered
               relationship” with the following:

                  A member of the employee’s household;
                  A relative with whom the employee has a close personal relationship;
                  A person for whom the employee’s spouse, parent, or dependent child is an employee;
                  A person with whom the employee has a business or financial relationship;
                  An organization in which the employee is an active participant.

               46. Criminal statute 18 U.S.C. § 208 - Acts Affecting a Personal Financial Interest, prohibits
               executive branch employees from working on U.S. Government matters that will affect their own
               personal financial interest, or the financial interest of other people, to include their spouse, minor
               child, or general partner. An executive branch employee should not act on a Government matter
               if a reasonable person who knew the circumstances of the situation could legitimately question
               their impartiality.

               47. Impartiality could be questioned if the Government matter an executive branch employee
               worked on is likely to affect the financial interest of a member of their household, their spouse,
               minor child, or partner. Impartiality could also be questioned if a Government employee worked
               on a Government matter with someone with whom they had a “covered relationship” wherein
               they are a party or represent a party to a Government matter.

               KRISTINA GLINES – OGE FORM 450 - CONFIDENTIAL FINANCIAL DISCLOSURE
               REPORTS
               48. Glines is an OGE Form 450 – Confidential Financial Disclosure Report filer. Glines
               completed and submitted OGE Form 450s to the NELO OGC Ethics Counselor in 2017, 2019,
               2020, 2021, and 2022 (Attachment 20). In each such filing, Glines properly reported Blue Sky
               Innovators as a source of non-investment income via her spouse’s salary. Glines properly
               reported Blue Sky Innovators as an asset via her spouse’s stock ownership in the company.

               49. Reviewers reviewed the annual DoD SOCO “DoD Vendors with Awards of $25,000.00 and
               over FPDS Data,” but reported the Blue Sky listed in the report was a different Blue Sky than
               Blue Sky Innovators. Since “ Blue Sky Innovators, Incorporated” was not listed in the DoD
               SOCO report, Ethics Counselors had no reason to believe Glines had a conflicting personal
               financial interest. Hence, Ethics Counselors did not issue a “Conflict Letter” to Glines during
               the period 2017 to 2021.

               50. In 2022, (b)(7)(A), (b)(6), (7)(C)            , NELO, OGC, issued a “Conflict Letter” to
               Glines warning her that her OGE Form 450 revealed she, or her spouse, maintained a financial
               interest in Blue Sky Innovators, and that 18 U.S.C. § 208 prohibited her from taking any
               official action regarding an entity in which she holds a financial interest (Attachment 21).



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               2019002173-80SI-B0/F                                                                                                                                                                        15
               51. A review of the “FY 2021 DoD Vendors with Contracts of $25,000 and over (1/13/2022)”
               report revealed “ Blue Sky Innovators, Incorporated” was not listed in the report; however, there
               were similar companies with similarly sounding names, such as “Blue Sky Innovative Solutions,
               Incorporated” and “Blue Sky Industries, Incorporated.” Neither is affiliated with Blue Sky
                                                                                                                                                                            (b)(7)(A), (b)(6), (b)(7)(C)
               Innovators.. The report listed prime contractors, not subcontractors, to the DoD.
               issuance of the “Conflict Letter” appears to have been made erroneously based on the DoD
               SOCO report; however, the “Conflict Letter” is appropriate because of the potential personal
               conflict of interest posed by Blue Sky Innovators’ performance on DoD contracts and Glines’
               position as an executive branch employee (Attachment 22).

               KRISTINA GLINES ETHICS GUIDANCE REQUEST
               52. Glines’ ethics training instructed her to consult her supervisor, ethics counselor, and/or
               recuse herself if she had any perceived or actual conflicts of interest. Glines demonstrated her
               understanding and obligation to do so on at least four occasions:

                  Glines recused herself from the source selection team on the Contractor Support Services
                  (b)(7)(A) selection acquisition. She did so because she believed her husband’s company could

                  potentially support (b)(7)(A)                                       . Glines reported this recusal occurred
                  several years ago (Attachment 23). DCIS requested all ethics documents from DoN OGC for
                  such recusals; however, there were no records produced for this recusal.
                  In July/August 2022, Glines sought guidance from(b)(7)(A), (b)(6), (7)(C)                           , N9SP and
                  (b)(7)(A), (b)(6), (b)(7)(C) DoN, OGC. Glines had been selected as a member of the technical
                  evaluations board for the N9SP Contractor Support Services contract re-compete. One of the
                  bidders on the re-compete was American Systems Corporation. Glines reported her
                  husband’s company, Blue Sky Innovators, had a subcontract with American Systems to
                  provide SETA support to the Office of the Undersecretary of Defense for Research and
                  Engineering. Glines requested a legal determination to determine if she should be involved
                                                                     (b)(7)(A), (b)(6), (b)(
                  in the acquisition.               believed Glines had an actual conflict of interest and recommend
                  Glines have no direct involvement in the contractor evaluation and selection process; Glines
                  complied with this ethics guidance (Attachment 24).
                                                                                                                         (b)(7)(A), (b)(6), (b)(
                  In July 2022, Glines sought guidance from                           regarding her requirement to list all prime
                  contracts wherein Blue Sky Innovators performs as a subcontractor on her OGE Form 450.
                              notified Glines that she did not need to list all the “primes/subs” of Blue Sky
                  (b)(7)(A), (b)(6), (b)(


                                                                                               (b)(7)(A), (b)(6), (b)(
                  Innovators on her OGE Form 450.                              reported OGC would deal with these situations on
                  a case-by-case basis (Attachment 24).
                  Sometime in July/August 2022, Glines notified her supervisor, (b)(7)(A), (b)(6), (7)(C) , N9SP,
                  that her husband, was under investigation, but did not know why or for what. Glines notified
                  (b)(7)(A), (b)(6), (b)
                             about the investigation because Glines was not sure if and/or how it would or might
                                                                                                                                                   (b)(7)(A), (b)(6), (b)
                  affect her role as the Director of Security at N9SP. Glines told                        she had done nothing
                  wrong and the investigation was all about her husband (Attachment 25). Although Glines
                                            (b)(7)(A), (b)(6), (b)
                  notified               of an investigation into her husband circa July/August 2022, Tkacz was
                  likely aware of the DCIS investigation as early as October 20, 2021. On this date, DCIS and
                  (b)(7)(A)        interviewed (b)(7)(A), (b)(6), (b)(7)(C) a Blue Sky Innovators employee, about the issues
                  raised by DoD SAPCO. Tkacz was fully aware of the DCIS investigation upon receipt of

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                   two DoD Office of Inspector General subpoenas served on December 3, 2021 and April 4,
                   2022.

               53. Glines confirmed these were the only times she sought ever sought ethics guidance and
               notified her supervisor of any perceived or actual conflicts of interest.

               KRISTINA GLINES VOLUNTARY INTERVIEW WITH THE DEFENSE CRIMINAL
               INVESTIGATIVE SERVICE
               54. On October 12, 2022, DCIS Special Agents executed a voluntary interview of Glines at the
               Pentagon, Washington, D.C. (Attachment 26). Reporting Agent read, explained, and executed a
               DCIS Form 70 – Warnings and Assurances to Employee Requested to Provide Information on a
               Voluntary Basis (Garrity) with Glines. Glines acknowledged her rights, signed the form, and
               agreed to speak voluntarily with agents. The interview was recorded and transcribed
               (Attachment 23).

               55. During the interview, Glines admitted that she had used her official position to help her
               husband and his company, Blue Sky Innovators. Furthermore, she failed to recuse herself from
               matters in which she had a personal financial interest/conflict of interest, and failed to seek
               guidance and/or report all perceived or actual conflicts of interest to her supervisor and/or DoN
               attorneys. Glines acknowledged that she had received ethics training throughout her DoN career
               and knew she had an obligation to seek guidance, report her conflicts, and recuse herself in
               matters involving her husband’s company. She acknowledged that she did not do this for every
               conflict involving Blue Sky Innovators.

               KRISTINA GLINES FAILURE TO RECUSE HERSELF IN (b)(7)(A), (b)(6), (b)(7)(C)
               SPECIAL ACCESS PROGRAM SUSPENSION
               56. On August 20, 2020, (b)(7)(A), (b)(6), (b)(7)(C) , SETA, Blue Sky Innovators, committed a
               security violation while assigned to the DARPA,(b)(7)(A)

                                                    (b)(7)(A), (b)(6), (b)(
               57. Investigative action confirmed         was a Blue Sky Innovators employee at the time of the
                         (b)(7)(A), (b)(6), (b)(
               incident.          supported DARPA as a SETA via a (b)(7)(A)                  contract awarded to
                                                                                               (b)(7)(A), (b)(6), (b)(7)(C
               (b)(7)(A)                                         .           support to DARPA was codified in
               a subcontract agreement executed between (b)(7)(A)                 and Blue Sky Innovators
                                                                                                                             (b)(7)(A), (b)(6), (b)(
               (Attachment 29). The contract, valued at (b)(7)(A) required           to support DARPA ACO
                                                                              (b)(7)(A), (b)(6), (b)(7)(C                                                                (b)(7)(                      (b)(7)(A)
               from August 1, 2020 to December 17, 2020.              timecard confirmed charged          direct
                                                                                                                                                                            (b)(7)(A), (b)(6), (b)(
               labor to this contract as a Blue Sky Innovators subcontractor. Specifically,        billed this
               DARPA SETA support work as direct labor from August 3, 2020 to November 3, 2020, via job
               code (b)(7)(A)                                              .

               58. On October 9, 2020, (b)(7)(A), (b)(6), (7)(C)              , DoD SAPCO, notified SAPCO
               Directors and Security Directors of DARPA’s decision to suspended
                                                                                                                                                       (b)(7)(A), (b)(6), (b)(7)(C
                                                                                                 SAP accesses
               across the SAP community – DARPA, DoN, USAF, etc. – via reciprocity suspension. At the
               time of this notification, Glines was on maternity leave. In her absence, (b)(7)(A), (b)(6), (7)(C)

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               (b)(7)(A), (b)(6), (b)(7)(C), N9SP, assumed her duties as the Acting Director of Security and led
               N9SP’s effort to suspend
                                                                       (b)(7)(A), (b)(6), (b)(7)(C                                                                                                                                     (b)(7)(A), (b)(6), (b)(7)(C
                                                DoN SAP access.                                                                                  (b)(7)(A), (b)(6
                                                                                                                                                                    documented                        (b)(7)(A)
                                                                                                                                                                                                                  role in
               DoN SAP suspension in a timeline (Attachment 31).

               59. On October 19, 2020, Glines returned from maternity leave and reassumed her duties as the
                                                                                 (b)(7)(A), (b)(6
               Director of Security, N9SP.        relinquished the role of Acting Director of Security and
                                           (b)(7)(A)                                                                                                      (b)(7)(A), (b)(6                                                                  (b)(7)(A), (b)(6), (b)(7)(C
               reassumed     duties as (b)(7)(A), (b)(6), (b)(7)(C)     .      continued to work on
               DoN SAP suspension.

                                            forwarded an e-mail chain entitled “FW: (U//FOUO –
                                                                                (b)(7)(A), (b)(6
               60. On November 12, 2020,
               PII/FOUO//HVSACO) DARPA Suspension –            (Contains PII)” to Glines about DARPA’s
                                                                                                                       (b)(7)(A), (b)(6), (b)(


                                                       (b)(7)(A), (b)(6), (b)(7)(C)                                                                                                                                                  (b)(7)(A), (b)(6),
               decision to suspend       SAP accesses (Attachment 31). Glines responded to      and
               wrote the following:
                 (b)(7)(A), (b)(6), (b)(7)(C)




                                                                                                                                                                                                        (b)(7)(A), (b)(6),




               61. Although Glines acknowledged this actual conflict of interest, and the need to recuse herself;
                                                                                                                                                                                  (b)(7)(A), (b)(6
               she chose to ignore her own guidance and instead took over from           and directly inserted
               herself into this matter where she participated, personally and substantially, into a matter that she
               had a personal financial interest (Attachments 32 and 33).

               62. Throughout Glines work on N9SP’s decision to suspend, or not suspend
                                                                                                                                                                                                                  (b)(7)(A), (b)(6), (b)(7)(C
                                                                                                         DoN SAP
               accesses, she interacted with a multitude of security professionals to include, but not limited to,
               personnel assigned to N9SP, NELO, DoD SAPCO, USAF SAPCO, and DARPA SAPCO. At no
                                                                                                                                                        (b)(7)(A), (b)(6), (b)(
               time did Glines ever disclose to any of these parties that        was an employee of her
               husband’s company, she had an actual conflict of interest, and a personal financial interest in this
               matter. Glines never requested guidance, waiver of exemption from disqualification, or
                                                                                                     (b)(7)(A), (b)(6), (b)(7
               disclosed this conflict to her supervisor,        or DoN OGC. Instead, Glines kept this
               information a closely guarded secret and only disclosed this conflict to DCIS agents on October
               12, 2022 (Attachment 23).

               63. During the interview with DCIS, Glines admitted that when she became involved in the
               (b)(7)(A), (b)(6), (b)(                                                                                                                                                          (b)(7)(A), (b)(6), (b)(
                      DoN SAP suspension matter, circa November 2020, she knew            worked for her
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               husband’s company. Glines also knew
                                                                                                      (b)(7)(A), (b)(6), (b)(
                                                                  worked at DARPA on a Blue Sky Innovators
               contract. Initially, Glines questioned DARPA’s decision to suspend
                                                                                                                                                                                                     (b)(7)(A), (b)(6), (b)(7)(C
                                                                                               SAP accesses;
                                                                                                                                                            (b)(7)(A), (b)(6), (b)(7)(C
               however, she acknowledged that if she did not suspend               DoN SAP accesses it would
               look like “favoritism” towards her husband’s company. Glines understood that without SAP
                       (b)(7)(A), (b)(6), (b)(
               access,          could not perform his SETA contract work at DARPA, and subsequently could
                       (b)(7)(A)                                                                                                (b)(7)(A), (b)(6), (b)(7)(C
               not bill    direct labor to the contract. Instead,          salary would have to be paid by
               Blue Sky Innovators as overhead. Glines’ personal and substantial involvement in this
               particular matter had a direct and predictable effect on an outcome that could affect her
               personal financial interest.
                                                                                                                            (b)(7)(A), (b)(6), (b)(7)(C
               64. Glines admitted sharing information about           SAP suspension with her husband as it
               was being adjudicated. Glines acknowledged she shared non-public information with her
               husband; however, did not believe this was wrong or inappropriate. Glines rationalized her
               actions wherein she told agents she would have shared this type of information with other
               corporate leaders who requested information about their employee in the same situation. As
               such, she was sharing information she would have shared with others. Glines did not feel this
               was inappropriate behavior.

               65. Glines ultimately agreed with DARPA’s decision to suspend
                                                                                                                                                                                          (b)(7)(A), (b)(6), (b)(7)(C
                                                                                          DoN SAP accesses.
                                                              (b)(7)(A), (b)(6), (b)(7)(C                                                                                                   (b)(7)(A), (b)(6), (b)
               Glines recommended                DoN SAP access be suspended to           , who in turn made the
                                                                        (b)(7)(A), (b)(6), (b)(7)(C
               final decision to suspend            DoN SAP accesses. Agents interviewed N9SP, DoD SAPCO,
               USAF SAPCO, and DARPA SAPCO personnel to determine if Glines tried to dissuade them
                                                 (b)(7)(A), (b)(6), (7)(C)
               from suspending              SAP accesses; she did not. There is no evidence Glines used her
                                                                                                                                                          (b)(7)(A), (b)(6), (b)(7)(C
               position to attempt to influence anyone not to suspend             SAP accesses, or do anything
               illegal or unethical that benefitted Blue Sky Innovators (Attachments 32, 33, 34, 35, 36, 37, 38,
               39, 40, 41, 42, and 43). Glines admitted that she should not have participated in this matter,
                                                                                                            (b)(7)(A), (b)(6), (b)
               should have recused herself, and notified         of her conflict; decisions she now regrets.

               KRISTINA GLINES REQUESTED JOINT ACCESS DATABASE ENVIRONMENT
               ACCOUNTS FOR BLUE SKY INNOVATORS EMPLOYEES
               66. Glines admitted that she requested DoD SAPCO JADE accounts for her husband, and other
               Blue Sky Innovator employees, while acting in her official capacity as the Director of Security,
               N9SP (Attachment 23). On January 17, 2019, Glines, electronically approved and submitted a
               request to DoD SAPCO for the creation of a JADE account for her husband.
                                                                                                                                                                                                              (b)(7)(A),
               67. (b)(7)(A), (b)(6), (b)(7)(C) JADE (b)(7)(A), (b)(6), (7)(C), DoD SAPCO, confirmed       office received the
               request from Glines to create an account for Tkacz. There were no justifications or comments
                                                                                                                                     (b)(7)(A), (b)(6),
               listed as to why Tkacz needed a JADE account.                           approved the creation of the JADE
               account and issued Tkacz an account with “General User” privileges (Attachments 44 & 45).
               Tkacz completed a JADE User Agreement and listed his organizational assignment as the Office
               of Naval Research/PMR-51 (Attachment 46).

               68. Glines reported she approved and submitted multiple JADE account requests to DoD SAPCO
               for her spouse and other Blue Sky Innovator employees. Glines explained she submitted the

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               requests for Blue Sky Innovator employees because they were required to maintain JADE
               accounts as a function of their SETA duties on U.S. Navy contract N3237B-15-D-6816, wherein
               Blue Sky Innovators was a subcontractor to ECS Federal, LLC (Attachment 15).

               69. Glines explained she received multiple request from the Navy Program Office to create
               JADE accounts for Blue Sky Innovator SETAs. Glines explained she approved the creation of
               the JADE accounts as a function of her duties as the Director of Security in support of the Navy
               Program Office. Glines claimed she was the only person that could issue JADE accounts and
               subsequently did so as a function of her official duties. Glines claimed her failure to approve the
               accounts would have negatively impacted the program.

               70. Investigative action confirmed Tkacz supported a U.S. Navy program office, associated to
               PMR-51, as a SETA via contract N3237B-15-D-6816. Tkacz’s timecard confirmed he charged
               his direct labor to this contract as a Blue Sky Innovators subcontractor. Specifically, Tkacz
               billed his U.S. Navy support work as direct labor from January 2019 to October 2019, via job
               code “Navy – ECS Federal – B2-SC-132010” (Attachment 47).

               71. Glines acknowledged she approved and submitted the JADE accounts for Blue Sky
               Innovators employees but did not believe her actions were inappropriate. Glines reported she
               would never do it again.

               KRISTINA GLINES PARTICIPATION IN OFFICIAL GOVERNMENT MEETINGS
               WITH HER HUSBAND
               72. Glines was asked if she ever disclosed classified information to her husband for which he did
               not have a need-to-know. Glines reported she had never done this. To date, there is no evidence
               Glines has ever made any unauthorized disclosers of classified information to any individuals not
               authorized to receive that information. Glines reported she never discusses classified
               information with her husband; however, Glines reported she may have had a meeting or call with
               her husband where they discussed classified information.

               73. Glines was asked how many meetings she attended where her husband represented Blue
               Sky Innovators. Glines reported it “probably happened a handful of times.” Glines explained
               she attended meetings where her husband attended in his capacity as a Blue Sky Innovators
               SETA. Tkacz attended these meetings as a Blue Sky Innovators SETA supporting the U.S.
               Navy via the ECS Federal, LLC contract N3237B-15-D-6816 (Attachment 15). This is the same
               contract wherein Glines approved JADE accounts for her husband and other Blue Sky
               Innovators SETAs supporting the contract. This contract supports DoN SAP equities that fall
               under Glines’ jurisdiction as the Director of Security, N9SP.

               74. Glines explained she attended the meetings in her official capacity as the Director of Security
               while her husband attended the meeting as a SETA. In addition to her husband’s participation,
               other Government personnel attended the meeting to discuss security efforts for Navy programs
               involving DoN SAP equities. Glines reported the meetings included discussions about the
               program, program security, security related decisions, managing test plans, and transporting

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               assets. Glines attended these meetings because, by virtue of her position as the Director of
               Security for N9SP, her approval was needed.

               75. Glines did not think her attendance at the meetings with her husband was wrong. When
               challenged on the appropriateness of her attendance at these meetings, Glines countered and
               explained she needed to go the meetings and “if anything, it would be he’s [Tkacz] not allowed
               to go to the meeting” and “if anybody is getting kicked out, he’s [Tkacz] the one should have
               been kicked out. Not me.” Glines did not think there was anything concerning about being in
               the same meetings with her husband. Glines believed she had to be there as a function of her
               duties as the Director of Security.

               KRISTINA GLINES MISUSE OF POSITION & FAILURE TO SEPARATE PERSONAL
               AND BUSINESS RELATIONSHIPS
               76. Agents obtained and reviewed Glines’ U.S. Navy unclassified and CNET classified e-mails.
               The unclassified email data set was not complete, it did not include emails that were permanently
               deleted. The number of missing emails is unknown.

               77. Emails were identified that demonstrated as early as 2015, Glines willingly misused her
               position; failed to separate personal and business relationships; and disregarded her obligation to
               abide by the ethical standards expected of a Government employee. Others, such as subordinates
               and friends, accommodated Glines inappropriate and unethical requests.

               78. The first known instance was on September 1, 2015, when Glines requested (b)(7)(A), (b)(6), (b)(7)(C),
               (b)(7)(A), (b)(6), (7)(C)       , N9SP, to check on the status of her husband’s Program Access
               Request (PAR) (Attachment 48). In the e-mail, Glines wrote the following:



                                                                                  (b)(7)(A), (b)(6), (b)(7)(C)



                 (b)(7)(A), (b)(




                      (b)(7)(A), (b)(6), (b)(7)(C)                                                           (b)(7)(A)
               79.            was interviewed and     provided information about the aforementioned request
                                                               (b)(7)(A), (b)(6), (b)(7)(C
               (Attachment 49).             reported that, at the time of the request, Glines was his immediate
                                               (b)(7)(A), (b)(6), (b)(7)(C
               supervisor.             was in charge of the PAR adjudication process and this request fell within
                                                            (b)(7)(A), (b)(6), (b)(7)(C
               his jurisdiction.           reported the only difference with this particular PAR request was that
               it was for Glines’ husband.                                                   (b)(7)(A), (b)(6), (b)(7)(C)   (b)(7)(
                                                       opined      would have reviewed the PAR and determined if
               access was needed based upon a review of the justification provided. Sometimes PARS would
               have to go through the Office of the Chief of Naval Operations (OPNAV) Special Programs

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               2019002173-80SI-B0/F                                                                                                                                                                                                      21
                                                                                              (b)(7)(A), (b)(6), (b)(7)(C)
               Division (N89) for final review.            could not recall if Tkacz's PAR was approved, but
               believed it was, and Tkacz had a valid official need for the access.

               80. With regard to the appropriateness of Glines using her position to speed up the approvals
                                                                   (b)(7)(A), (b)(6), (b)(7)(C)                                                                              (b)(7)(A), (b)(6), (b)(7)(C
               process for her husband,            opined there was nothing wrong with it.              explained
               that regardless of Glines relationship with Tkacz, it was in her professional interest to move
                                                                                                                      (b)(7)(A), (b)(6), (b)(7)(C
               PARS through the system. Furthermore,                stated the PAR for Tkacz would have been
                                                                                                                                                                                                           (b)(7)(A), (b)(6), (b)(7)(C
               reviewed eventually, so the approval was based on a legitimate need for SAP access.
               stated romantic or familial relationships between Government employees and contractors were
               perhaps slightly more closely scrutinized, but maintained there was nothing wrong with Glines
               intervening on her husband’s behalf.
                                                                                                           (b)(7)(A), (b)(6), (b)(7)(C)                    (b)(7)(
                                                               reported      did not feel compelled to speed up
               the approval process for Tkacz’s PAR.

                                                  e-mailed Glines the status of her husband’s PARs
                                                                            (b)(7)(A), (b)(6), (b)(7)(C
               81. On September 2, 2015,
                                              (b)(7)(A), (b)(6), (b)(7)(C
               (Attachment 50).          wrote the following:
                     (b)(7)(A), (b)(6), (b)(7)(C)




                      (b)(7)(A), (b)(6), (b                                                                                                                                                                       (b)(7)(A), (b)(6), (b)(7)(C)




                                                                 for checking on the status of her husband’s
                                                                                                                             (b)(7)(A), (b)(6), (b)(7)(C
               82. On September 3, 2015, Glines thanked
                                            to let her know when Tkacz’s PARS made it back to N89
                                                      (b)(7)(A), (b)(6), (b)(7)(C
               PARs. Glines asked
               (Attachment 50).

               83. Glines cavalier attitude is fully on display via a September 16, 2015 email exchange between
               her and her husband regarding his PAR status (Attachment 51). In this exchange, Glines told her
               husband his PAR was at N89. Tkacz told Glines to have (b)(7)(A), (b)(6), (b)(7)(C) call (b)(7)(A), (b)(6), (b)(7)(C) and
               jokes “Fyi I think this constitutes direction from a Government superior.” In response, Glines
               jokingly wrote “Lol…I can’t call and expedite PARs for my family :-).”
                                                                                                                                                                     (b)(7)(A), (b)(6),
                                                                                                                  was carbon
               copied on the e-mail.




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                                                                   (b)(7)(A), (b)(6), (b)(7)(C)




                           (b)(7)(A), (b)(6), (b)(7)(C)




                           (b)(7)(A), (b)(6),                                                                                                    (b)(7)(A), (b)(6),                          (b)(7)(A)
               84.        was interviewed about this e-mail exchange (Attachments 52).           reported
               relationship with Glines is predominately of a personal nature, which includes having dinner at
               Tkacz and Glines’ home.          reported Glines’ husband, Tkacz, is
                                                            (b)(7)(A), (b)(6),                                                       (b)(7)(A)
                                                                                         friend and work
               colleague at DARPA. They have maintained a personal relationship since 2015.
                           (b)(7)(A), (b)(6),                                                       (b)(7)(A)
               85.        recalled the e-mail and explained that and Tkacz typically would not have reached
                                                                                                                                                                        (b)(7)(
               out to Glines for assistance in getting this type of access request moving; however, stated they
               were trying to “move bureaucracy along.”
                                                                                    (b)(7)(A), (b)(6),
                                                                    further explained that the usual process for
               getting a PAR through the system involved routing the request through the OPNAV Special
                                                              (b)(7)(A), (b)(6),                                                                                             (b)(7)(A)
               Programs Division (N89).            stated this process was inefficient so, on occasion,    and
                                                                                                                (b)(7)(A), (b)(6),
               Tkacz would go to Glines to try to expedite the paperwork.            explained that in the position
               (b)(7)(A)                        (b)(7)(A)
                  held at that time, was able to facilitate the submission of PARS, but was not involved in
                                                  required Glines’ assistance.
                                                                        (b)(7)(A)
               processing the PARS. Hence,

               86. As to the appropriateness of Tkacz using his wife to speed up PAR approvals for himself,
               (b)(7)(A), (b)(6),                                                                                                                                     (b)(7)(A), (b)(6),
                      did not believe there was anything wrong with what Glines and Tkacz did.
               explained that regardless of Glines’ intervention, Tkacz’s PAR would have been reviewed by all
                                                                                                                                                                                  (b)(7)(A), (b)(6),
               the same people, so the approval was still based on a legitimate need for SAP access.
               opined the interaction between Tkacz and Glines was only unusual because of their relationship
               as a married couple.

               87. In April 2016, Glines again demonstrated her willingness to compromise her ethics by
               assisting her husband using her official position. Glines did so wherein Tkacz asked Glines to
               check the status of their Facility Clearance (FCL) (Attachment 53). Tkacz asked Glines to check
               if Blue Sky Innovators had a FCL, and if not, could she find someone who could check. Glines
               reported that Tkacz needed to update their CAGE code. It is unclear through the exchange if she

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               was able to get the answer Tkacz requested; however, Glines confirmed there was a problem
               with their CAGE code.

               88. Glines was asked how many times she executed database checks using U.S. Government
               computer systems for her husband. Glines acknowledged she did this for her husband but did
               not provide a specific number of instances. Glines reported she accessed U.S. Government
               computer systems to find out her husband’s security clearance access date. Glines acknowledged
               that the Blue Sky Innovators FSO could do this as part of his industrial security duties. Glines
               rationalized running database checks for her husband as something she would do for other
               companies and personnel. As such, Glines did not believe she was doing anything wrong, nor
               was she doing a favor for her husband. In retrospect, Glines acknowledged she should not have
               conducted these checks (Attachment 23).

               89. A review of Blue Sky Innovator PARS obtained from DoD SAPCO and N9SP failed to
               identify any PARS wherein Glines was an approver. The PARS obtained from DoD SAPCO
                                                                                                           (b)(7)(A), (b)(6), (b)(7)
               was limited in scope to a sample of PARS for Tkacz, (b)(7)(A), (b)(6), (b)(7)(C)    .
               provided investigators with N9SP JADS PAR results for Blue Sky Innovators DoN PAR
               accesses. A review of the records, did not identify Glines as an approver on the PARS.

               DEPARTMENT OF JUSTICE
               90. On October 18, 2022, DCIS contacted (b)(7)(A), (b)(6), (b)(7)(C) Department of Justice,
               Criminal Division, Public Integrity Section, Washington, D.C. to discuss the October 12, 2022,
                                                                                          (b)(7)(A), (b)
               DCIS voluntary interview of Glines via Garrity. Reporting Agent briefed         on the
               investigation of Glines and her admission of various ethics violations. Based on this discussion,
               the Public Integrity Section declined to open a criminal investigation regarding the conflict of
               interest allegations concerning Glines. Should new information and/or evidence be developed,
               the Department of Justice will be re-contacted to reconsider prosecution (Attachment 54).

               OFFICE OF GOVERNMENT ETHICS NOTIFICATION
               91. On October 18, 2022, DCIS filed OGE Form 202 – Notification of Conflict of Interest
               Referral Part 1: Initial Notification; Part 2: Disposition of Referral; and Part 3: Consideration
               of Corrective Action with the Office of Government Ethics, Washington D.C. The notification
               pertained to ethics violations committed by Glines. The Office of Government Ethics Tracking
               Number for this referral is OGE-2023-0443 (Attachment 55).

               COORDINATION OF REMEDIES
               92. Glines’ decisions, actions, and behavior, raises serious questions about her eligibility,
               suitability, and fitness to maintain a security clearance, occupy a national security sensitive
               position, and access classified material. As such, DCIS will coordinate administrative remedies
               with DoD SAPCO, N9SP, DoN OGC, and DCSA to address these concerns.
                                         (b)(7)(A), (b)(6), (b)(7
               93. On October 12, 2022,        suspended Glines from work and suspended her access to
               SAPs. No decision as to suspension duration, reassignment, termination, etc. has been made.



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               94. Tkacz’s willingness to utilize, and exploit, his wife’s position as the Director of Security,
               N9SP, in furtherance of his business, raises serious questions about his, and his company’s,
               ethical conduct and commitment to comply with federal law. Tkacz’s behavior runs counter to
               48 C.F.R. § 52.203-13 – Contractor Code of Business Ethics and Conduct. As such, this
               investigation will be referred to the Interagency Suspension and Debarment Committee, and the
               appropriate debarring officials, for suspension and debarment consideration. This referral will be
               made at the conclusion of this investigation.

               CONCLUSION
               95. The investigation of Glines is finished and culpability established; however, this
               investigation will remain open pending final resolution of the other allegations (b)(7)(A)



               96. (b)(7)(A)




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               Attachments:

               1. (b)(7)(A)

               2. (b)(7)(A)

               3. (b)(7)(A)

               4. (b)(7)(A)

               5. (b)(7)(A)
                                                                        20
               6. (b)(7)(A)

               7. (b)(7)(A)

               8. (b)(7)(A)

               9. (b)(7)(A)

               10. (b)(7)(A)

               11. (b)(7)(A)

               12. (b)(7)(A)
               13. (b)(7)(A)
               14. (b)(7)(A)
               15. (b)(7)(A)

               16. DCIS Form 1 – Marriage License – Timothy Tkacz and Kristina Glines, dated February
                   9, 2021
               17. DCIS Form 1 – Property Records Timothy Tkacz and Kristina Glines, dated February
                   11, 2021
               18. DCIS Form 1 – Kristina Glines – Navy Total Workforce Management Services Training
                   Records, dated March 5, 2021
               19. DCIS Form 1 – Kristina Glines Navy Ethics Training Modules, dated March 18, 2021
               20. Department of the Navy, Office of General Counsel Ethics Documents – Kristina Glines,
                   multiple dates
               21. Memorandum for Kristina Glines – 2022 Annual Executive Branch Confidential Financial
                   Disclosure Report (OGE 450), undated
               22. (b)(7)(A), (b)(6), (b)(7)(C)
               23. (b)(7)(A), (b)(6), (b)(7)(C)
               24. (b)(7)(A), (b)(6), (b)(7)(C)
               25. (b)(7)(A), (b)(6), (b)(7)(C)
               26. (b)(7)(A), (b)(6), (b)(7)(C)
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               27. (b)(7)(A)

               28. (b)(7)(A)
               29. (b)(7)(A)

               30. (b)(7)(A), (b)(6), (b)(7)(C)
               31. (b)(7)(A), (b)(6), (b)(7)(C)
               32. (b)(7)(A), (b)(6), (b)(7)(C)
               33. (b)(7)(A), (b)(6), (b)(7)(C)
               34. (b)(7)(A), (b)(6), (b)(7)(C)
               35. (b)(7)(A), (b)(6), (b)(7)(C)
               36. (b)(7)(A), (b)(6), (b)(7)(C)
               37. (b)(7)(A), (b)(6), (b)(7)(C)
               38. (b)(7)(A), (b)(6), (b)(7)(C)
               39. (b)(7)(A), (b)(6), (b)(7)(C)
                   (b)(7)(A)
               40. (b)(7)(A), (b)(6), (b)(7)(C)
               41. (b)(7)(A), (b)(6), (b)(7)(C)
               42. (b)(7)(A), (b)(6), (b)(7)(C)
               43. (b)(7)(A), (b)(6), (b)(7)(C)
               44. DCIS Form 1 – Joint Access Database Environment Account Information, dated December
                   3, 2020
               45. DCIS Form 1 – Joint Access Database Environment Account Information, dated October 6,
                   2022
               46. Timothy Tkacz, Blue Sky Innovators Timesheet, multiple dates
               47. E-mail entitled: “PAR,” dated September 1, 2015
               48. (b)(7)(A), (b)(6), (b)(7)(C)

               49. E-mail chain entitled: “RE: PAR,” various dates
               50. E-mail Entitled: “RE: PAR,” dated September 16, 2015
               51. (b)(7)(A), (b)(6), (b)(7)(C)

               52. E-mail entitled: “RE: Can you see if we have an FCL yet?,” dated April 27, 2016
               53. DCIS Form 1 – Department of Justice Prosecution Decision, dated October 18, 2022
               54. DCIS Form 1 – Office of Government Ethics Referral – Kristina A. Glines, dated October
                   19, 2022




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               Identity of Suspect(s):

               Name                                    : Kristina Arlene Glines
               Alias                                   : Kristina Glines Tkacz
               Social Security Number                  :
               Date/Place of Birth                     :
               Race                                    : Caucasian
               Sex                                     : Female
               Residence                               : 1605 Palm Springs Drive, Vienna, Virginia 22182
               Employment/Occupation                   : Department of the Navy Special Programs
                                                         Office/Department of the Navy Special Access
                                                         Program Central Office/Director of Security
               Driver’s License Number                 :
               and Issuing State                         Virginia




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               Name                                    : Timothy James Tkacz
               Alias                                   : N/A
               Social Security Number                  : (b)(7)(A), (b)(6), (b)(7)(C)
               Date/Place of Birth                     : (b)(7)(A), (b)(6), (b)(7)(C)
               Race                                    : Caucasian
               Sex                                     : Male
               Residence                               : 1605 Palm Springs Drive, Vienna, Virginia
               Employment/Occupation                   : Blue Sky Innovators, Incorporated/President
                                                         and Chief Executive Officer
               Driver’s License Number                 :(b)(7)(A), (b)(6), (7)(C)
               and Issuing State                         Virginia




                Prepared by: (b)(6), (b)(7)(C)                  Approved by: (b)(6), (b)(7)(C)

          (b)(6), (b)(7)(C)(b)(6), (b)(7)(C)
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          EXHIBIT DD
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From:            foiarequests
To:              "rsander@sandergroup.org"; foiarequests
Cc:              "Cecilia Franceski"
Subject:         RE: RE: Interim Response to FOIA Requests (DODOIG-2024-REF-000025, 2024-000119, and 2024-000316)
Date:            Wednesday, April 3, 2024 3:00:14 PM


Good Afternoon Mr. Sander,

My apologies for spelling your name incorrectly below.

Thank you for your email. Our office is coordinating with DCIS. They are reviewing potentially
responsive documents regarding your request and have made it a priority. As the documents
become available, we shall process accordingly and send you responsive.

We thank in advance for your patience.

Sincerely,

Barb Gonzalez
Division Chief
DOD OIG FOIA

Main FOIA Tele: 703-604-9775
FAX: 571-372-7498



From: rsander@sandergroup.org <rsander@sandergroup.org>
Sent: Tuesday, April 2, 2024 10:18 AM
To: foiarequests <foiarequests@DODIG.MIL>
Cc: 'Cecilia Franceski' <cfranceski@sandergroup.org>
Subject: [Non-DoD Source] RE: Interim Response to FOIA Requests (DODOIG-2024-REF-000025,
2024-000119, and 2024-000316)

Ms. Gonzalez,

Thank You for this Interim Response to Ms. Glines FOIA Requests. We’re still sorting
through the documents and redactions. Unfortunately, we did not receive any of the
attachments listed in the ROI, the video of Ms. Glines Interview, or the Transcript of the
Interview, which we believe Ms. Glines is entitled to receiving as part of her Requests and
under the law. As you can see from the ROI itself, these documents include exculpatory
information, mitigating information, and information which is needed for Ms. Glines to
properly respond to the SOR. Can you please let us know when you and the DODIG FOIA
Office plan on providing this information, which as you’re aware has been requested on an
expedited basis? Thank You in advance for your handling!

Bob
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Robert J. Sander, Partner
The Sander Group, PLLC
Alexandria, Virginia
(703) 459-0442
www.sandergroup.org
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From: foiarequests <foiarequests@DODIG.MIL>
Sent: Friday, March 29, 2024 2:10 PM
To: 'rsander@sandergroup.org' <rsander@sandergroup.org>
Subject: Interim Response to FOIA Requests (DODOIG-2024-REF-000025, 2024-000119, and 2024-
000316)

Good Afternoon Mr. Sander’s,

Attached please find our interim response to the FOIA requests in the subject line above
regarding your client and Blue Sky Innovators, Inc.

In order to ensure safe transmission, we have password protected the responsive document.
The password will be sent in a separate email with the subject line of “To Open Document”.

After reviewing this interim response, should you feel any part of your ongoing request(s) for
information is no longer necessary, please let us know.

Thank you for your patience and we hope you have an amazing weekend.


Sincerely,

Barbara Gonzalez
Division Chief

Freedom of Information, Privacy and Civil Liberties Office
Department of Defense Office of Inspector General
4800 Mark Center Drive, Suite 10B24, Alexandria, VA 22350-1500
Phone: 703-604-9775 | Fax: 571-372-7498

From: Powers, Eric, OIG DoD
Sent: Friday, March 22, 2024 10:07 AM
To: 'rsander@sandergroup.org' <rsander@sandergroup.org>
Subject: DODOIG-2024-REF-000025 FOIA Request Acknowledgement Letter

Dear Mr. Sander:
      Case 1:24-cv-01222-TSC Document 1-11 Filed 04/25/24 Page 57 of 57


Attached please find our acknowledgement letter pertaining to your FOIA request.

v/r



Eric R. Powers
Government Information Specialist
Department of Defense Office of Inspector General Freedom of Information Act
4800 Mark Center Drive
Alexandria, VA 22350-1500

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